                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA


[1] BLACK EMERGENCY RESPONSE TEAM, et al.               )
                                                        )
       Plaintiffs,                                      )
                                                        )
v.                                                      )
                                                        )      Case No. CIV-21-1022-G
[1] JOHN O’CONNOR, in his official capacity as          )
Oklahoma Attorney General, et al.                       )
                                                        )
       Defendants.                                      )

        OKLAHOMA DEFENDANTS AND OU DEFENDANTS SURREPLY TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       COME NOW Robert Ross, Frank Keating, Rick Braught, Natalie Shirley, Eric

Stevenson, Anita Holloway, and Rick Nagel, in their official capacities as members of the

Board of Regents of the University of Oklahoma (collectively, the “OU Defendants”);

Gentner Drummond, in his official capacity as Oklahoma Attorney General; Ryan Walters,

in his official capacity as Oklahoma Superintendent of Public Instruction; Donald Burdick,

Katie Quebedeaux, Sarah Lepak, Suzanne Reynolds, and Kendra Wesson, in their official

capacities as members of the Oklahoma State Board of Education; Kevin Stitt, in his

official capacity as Governor of Oklahoma; Jeffrey Hickman, Michael Turpen, Steven;

Taylor, Dennis Casey, Dustin Hilliary, Ann Holloway, P. Mitchell Adwon, Jack Sherry,

and Courtney Warmington, in their official capacities as the Oklahoma State Board of

Regents for Higher Education (collectively, the “Oklahoma Defendants”); and, pursuant to

the Court’s Order [Doc. 153], submit this surreply in response to the affidavits attached to

Plaintiffs’ Consolidated Reply [Doc. 66].


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       The information contained in the Declaration of John Doe [Doc. 66-2] should not

be afforded any weight in evaluating Plaintiffs’ argument that H.B. 1775 has already

affected academic content at the university level. Pls.’ Consol. Reply at 11. This declaration

is not entirely a “firsthand account[],” [Doc. 153 at 4], as its primary allegation relating to

classroom instruction is hearsay upon hearsay. [Doc. 66-2 at ¶7]. Furthermore, the

anonymous double hearsay allegation contained therein is untrue, as attested on the record

by the Dean of the University of Oklahoma College of Arts & Sciences. Compare Decl. of

John Doe [Doc. 66-2] at ¶7, with Defendants’ Exhibit 1, Affidavit of David Wrobel.

       Likewise, to the extent that the Second Declaration of the Black Emergency

Response Team relies on that same false information, it should not be afforded any weight.

See Second BERT Decl. [Doc. 66-1] at ¶11. Furthermore, there is little connection between

the constitutional claims made by Plaintiffs and the irrelevant details and alleged harms in

the declarations. For example, the declarant Jamelia Reed provides new allegations,

complaining at one point that “hostile groups” invited certain undesirable “speakers to

campus” after H.B. 1775. [Doc. 66-1 at ¶10]. Of course, H.B. 1775 says nothing about

what speakers, groups, or persons are and are not allowed on campus. The declarant’s

allegations are thus utterly irrelevant here.

       Moreover, the University of Oklahoma believes that the values of inclusion and

diversity are essential to making the university a place of excellence, openness, and

learning. These values include the diversity of thought and ideas. The declarant’s allegation




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amounts to nothing more than a claim that persons she disagrees with or opposes 1 would

never appear on campus if only the University could impose mandatory diversity trainings

or orientations rather than making them voluntary. The Court is in no way required to

accept this rank speculation, which is untethered from the reality of diverse student groups

and campus life.

                                        CONCLUSION

       This Court should deny the Motion for Preliminary Injunction.




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  It is unclear what event the declarant is even referring to involving the Proud Boys. It seems as
if she may be referencing incidents that occurred in November 2020, although those took place
before H.B. 1775 was enacted. See, e.g., Alexia Aston, Proud Boys members among counter-
protestors at OU Ann Coulter appearance, OU Daily (Nov. 5, 2020),
https://www.oudaily.com/news/proud-boys-members-among-counter-protesters-at-ou-ann-
coulter-appearance/article_a1d909c8-1fec-11eb-93b7-3fb88b0c1e69.html. The actual speaker at
that event was Ann Coulter, not the Proud Boys, who were only briefly present in the Oklahoma
Memorial Union. See id. Throughout that time, OU’s security and staff worked diligently to
achieve a safe and orderly event.
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Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of October 2023, I transmitted the attached
document to the Clerk of Court using the ECF system for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

 Maya Brodziak                                   Megan Lambert
 David Hinojosa                                  American Civil Liberties Union
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